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   7                        UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
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  10    JAE JEONG LYU,                             Case No. 5:19-cv-00637-MCS (AFM)
  11                       Plaintiff,
                                                   ORDER ACCEPTING FINDINGS
  12          v.                                   AND RECOMMENDATIONS OF
  13    JIM McDONNELL,                             UNITED STATES MAGISTRATE
                                                   JUDGE
  14                       Defendant.
  15

  16         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Final Report and
  17   Recommendation of United States Magistrate Judge. The time for filing Objections
  18   to the Final Report and Recommendation has passed and Objections have not been
  19   received.
  20         IT THEREFORE IS ORDERED that (1) the Final Report and
  21   Recommendation of the Magistrate Judge is accepted and adopted; (2) defendant’s
  22   Motion to Dismiss plaintiff’s Second Amended Complaint without further leave to
  23   amend and with prejudice for failure to a state a claim is granted (ECF No. 31); and
  24   (3) Judgment shall be entered dismissing this action.
  25   DATED: January 12, 2021
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                                             ____________________________________
                                                 ___________________________
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                                                       MARK CC. SCARSI
  28                                           UNITED STATES DISTRICT JUDGE
